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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DAVID TYLER MOSS AND                           §
BRANDON KEATING                                §
                                               §
                            Plaintiffs,        §            CIVIL ACTION NO.
Vs.                                            §            3:14-CV-03088-M
                                               §            (JURY)
MARKO PRINCIP,                                 §
Individually, MARKO                            §
PRINCIP d/b/a                                  §
VIDEOGAMES YOUTUBE                             §
CHANNEL, MARKO                                 §
PRINCIP                                        §
d/b/a         ACHIEVEMENT                      §
GUIDE, MARKO PRINCIP                           §
d/b/a GAME GUIDE, LLC,                         §
VIDEOGAMES        YOUTUBE
CHANNEL,
AND BRIAN MARTIN

                         Defendants.           §



                         PLAINTIFFS’ FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COME DAVID TYLER MOSS and BRANDON KEATING, PLAINTIFFS in

the above-referenced action, complaining of and about Marko Princip Individually, Marko

Princip d/b/a VideoGames YouTube Channel, Marko Princip d/b/a Achievement Guide, Marko

Princip d/b/a Game Guide, LLC (hereinafter “Defendant Marko Princip” or “Mr. Princip,”

collectively), VideoGames YouTube Channel, and Brian Martin, hereinafter called Defendants,

and for cause of action shows unto the Court the following (pursuant to the Court’s Scheduling

Order, a redlined version of the First Amended Petition and Application for Temporary


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Restraining Order--Plaintiffs’ most recent pleading, prior to removal of the case--is attached

hereto as Pls.’ Ex. “D”):



                                      PARTIES AND SERVICE

        1.       Plaintiff, David Tyler Moss, is an Individual whose address is 113 Pleasant Street,

Belmont, North Carolina 28012.

        2.       The last three numbers of David Tyler Moss's driver's license number are 025.

The last three numbers of David Tyler Moss's social security number are 940.

        3.       Plaintiff, Brandon Keating, is an Individual whose address is 220 Bradwell Road,

Inverness, Illinois 60010.

        4.       The last three numbers of Brandon Keating's driver's license number are 013. The

last three numbers of Brandon Keating's social security number are 802.

        5.       Defendant Marko Princip, an Individual who is a resident of Texas, has

previously appeared in the lawsuit and may be served with process by and through his attorney

of record, Robert D. Wilson.

        6.       Defendant Marko Princip D/B/A VideoGames YouTube Channel, an Individual

who is a resident of Texas, may be served with process by serving him personally at 18032

Windflower Way, Dallas, Texas 75252, or wherever he may be found.

        7.       Defendant Marko Princip D/B/A Achievement Guide, an Individual who is a

resident of Texas, may be served with process by serving him personally at 18032 Windflower

Way, Dallas, Texas 75252, or wherever he may be found.




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        8.       Defendant Marko Princip D/B/A Game Guide, LLC, an entity who is a resident of

Texas, may be served with process by serving him personally at 18032 Windflower Way, Dallas,

Texas 75252, or wherever he may be found.

        9.       Defendant VideoGames YouTube Channel, a General Partnership based in Texas,

may be served with process by serving it personally at 18032 Windflower Way, Dallas, Texas

75252, or wherever he may be found.

        10.      Defendant Brian Martin, an Individual who is a nonresident of Texas, may be

served with process at his home at the following address: 941 Cimarron Lane, Corona,

California 92879, or wherever he may be found. Service of said Defendant as described above

can be effected by personal delivery.

        11.      Plaintiffs have standing, as each Plaintiff is a partner/owner/investor in the

VideoGames YouTube Channel, each Plaintiff has sustained injury caused by Defendants’

actions complained of herein, and Plaintiffs seek relief that will likely remedy the injury.

                                      JURISDICTION AND VENUE

        12.      The subject matter in controversy is within the jurisdictional limits of this court.

        13.      Plaintiffs seek:

                 a.      monetary relief over $1,000,000. The amount in controversy exceeds

                 $75,000.00.

        14.      Defendant Marko Princip is a resident of Texas. This court has jurisdiction over

Defendant Brian Martin, because said Defendant purposefully availed himself of the privilege of

conducting activities in the state of Texas and established minimum contacts sufficient to confer

jurisdiction over said Defendant, and the assumption of jurisdiction over Brian Martin will not




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offend traditional notions of fair play and substantial justice and is consistent with the

constitutional requirements of due process.

        15.      Plaintiffs would also show that the cause of action arose from or relates to the

contacts of Defendant Brian Martin to the state of Texas, thereby conferring specific jurisdiction

with respect to said Defendant.

        16.      Defendant Brian Martin committed a tort in whole or in part in the State of Texas,

thus conferring personal jurisdiction upon the Court pursuant to Tex. Civ. Prac. & Rem. §17.042

        17.      Venue in the Northern District, Dallas Division is proper in this cause pursuant to

28 U.S.C. §1446, as this action was pending in Dallas County, Texas at the time of removal.

Further, a substantial part of the events or omissions giving rise to the claim occurred in the

Northern District, Dallas Division.

                                               FACTS

        18.      On or about March 9, 2012, Plaintiff Brandon Keating (“Mr. Keating”)

Defendants Marko Princip, Marko Princip D/B/A Achievement Guide, Marko Princip D/B/A

Game Guide, LLC (collectively “Mr. Princip”), John Brandt, and Edward Brandt entered into an

agreement entitled “Game Guide, LLC Membership Agreement,” attached hereto as Pls.’ Ex.

“A” (“the Membership Agreement”) and incorporated herein by reference. The Membership

Agreement provides that Brandon Keating is a 30% owner of the company, and 30% owner of

any YouTube channel, sponsorship, or project with the exception of “TEAMNOBLE.” Mr.

Keating was given his 30% interest in exchange for the payment of $1,500.00 to Mr. Princip.

The VideoGames YouTube Channel was a YouTube project initiated by Mr. Princip pursuant to

the Membership Agreement.




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        19.       The Membership Agreement provides that Mr. Keating will act as an advisor to

the company, own 30% of the stock and interest of the company, and would have the right to

make decisions on how the company grows. In the event of a disagreement, Mr. Keating’s vote

would count for 30% of the vote. Marko Princip confirmed Brandon Keating was 30% owner of

VideoGames YouTube Channel in an email sent June 21, 2014. Please see Pls.’ Ex. “B,”

attached hereto and incorporated herein by reference.

        20.       On or about May 21, 2012, Plaintiff David Tyler Moss (“Mr. Moss”) and

Defendant Marko Princip entered into a Partnership Agreement (hereinafter "the Partnership

Agreement") to be known as VideoGames YouTube Channel, attached hereto as Pls.’ Ex. “C,”

and incorporated herein by reference. The VideoGames YouTube Channel’s web address is

http://www.youtube.com/videogames. On or about May 15, 2012, Mr. Princip represented to

Mr. Moss that he had signed a company named “Machinima” to a lucrative sponsorship deal for

$3.00 per every 1,000 monetized views with ads running for a YouTube channel. Mr. Princip

represented to Mr. Moss that he projected the channel to grow rapidly, and achieve great

revenues. Mr. Princip represented to Mr. Moss that he needed $1,500.00 to start the

VideoGames YouTube Channel, and assured Mr. Moss that he would profit greatly from his

investment. Acting on these representations made by Mr. Princip, Mr. Moss agreed to enter into

the Partnership Agreement with Mr. Princip, and invested the $1,500.00.

        21.       The Partnership Agreement provided that Mr. Moss and Mr. Princip wish to

become legal partners in business, and that the partnership will be governed under the laws of the

State of Texas.

        22.       The Partnership Agreement provided that Plaintiff David Tyler Moss would

invest $1,500.00 into the VideoGames YouTube Channel, in return for thirty percent (30%)



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ownership of the company, and that Mr. Moss would "make 30% off everything revolving

around our brand, channel revenue, app revenue, etc."

        23.      The Partnership Agreement provided that "David Tyler Moss is an advisor to the

company, and has equal say into every decision we make."

        24.      The Partnership Agreement provided that Mr. Princip would return Mr. Moss's

initial investment within sixty (60) days of signing the Agreement, that Mr. Moss would be able

to log into the VideoGames YouTube Channel at any time that he pleased, and that Mr. Moss

would earn thirty percent (30%) of the channel revenue, paid out every 15th day of the month.

        25.      Finally, the Partnership Agreement provided that, "The Partnership's primary

purpose is Ensure [sic] that David Tyler Moss earns 30% of what the channel earns, and

anything associated with the 'VideoGames' brand."

        26.      On or about May 26, 2012, Mr. Princip admitted to Mr. Moss that the

VideoGames YouTube channel was receiving $3.00 per every 1,000 monetized views with ads

running on the channel.

        27.      Mr. Princip, after much delay and at great inconvenience to Mr. Moss, finally

returned Mr. Moss's $1,500.00 initial investment.

        28.      From the time that Mr. Moss and Mr. Princip entered into the Partnership

Agreement, Mr. Princip and the partnership consistently failed and/or refused to make timely

payments to Mr. Moss for 30% of all revenues from the VideoGames YouTube Channel and its

associated brand on the 15th day of each month, as set forth in the Partnership Agreement.

Despite Mr. Moss’s repeated requests, and Mr. Princip’s acknowledgements that he owed Mr.

Moss money from the VideoGames YouTube Channel, Mr. Princip never paid Mr. Moss on

time. Mr. Moss continued to make payment demands to Mr. Princip, who continuously assured



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Mr. Moss that he would pay him in accordance with the Partnership Agreement, without ever

actually sending payments. Further, Mr. Princip has never allowed Mr. Moss access to the

VideoGames YouTube Channel as agreed upon, or consulted Mr. Moss in making decisions

regarding the partnership and the VideoGames YouTube Channel as agreed upon.

        29.      On or about November 19, 2012, Mr. Moss was involved in a Skype chat with

Mr. Princip, and another individual named Brian Martin. Mr. Princip stated that Brian Martin

(hereinafter “Mr. Martin”) was his “business partner.” Mr. Martin stated to Mr. Moss that he

was a “business partner,” and that he had “experience in legal and other arenas.” Mr. Martin

advised Mr. Moss that Mr. Martin was “the official manager of VideoGames,” and that Mr.

Moss was “in violation of extortion” due to his repeated demands that Mr. Princip pay him as set

forth in the Partnership Agreement. Mr. Martin stated that he was “going to have to drop

business with you and the channel VideoGames as it is ultimately the decision of the Manager in

which I am.” Mr. Martin further advised Mr. Moss that, “Your contract is void.”

        30.      Mr. Princip has made a few small payments to Mr. Moss since the Partnership

Agreement was signed; no such payments in accordance with the Partnership Agreement have

been made by Mr. Princip or by the VideoGames YouTube Channel to Mr. Moss since

approximately December 2012.

        31.      Mr. Princip has not made a payment from the VideoGames YouTube Channel to

Mr. Keating in over one year, as of the date of filing this pleading. Mr. Princip paid $4,000 to

Mr. Keating in January 2013, and may have made one other payment of $1,500.00 to Mr.

Keating prior to the January 2013 payment. No payment has been made to Mr. Keating since,

despite his repeated requests, and Mr. Princip’s repeated assurances that he would pay Mr.

Keating in accordance with the Membership Agreement. Further, Mr. Keating’s rights to participate



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in the VideoGames YouTube Channel’s management and operations have not been honored, and

Defendants refuse to pay Mr. Keating.

        32.      Mr. Princip claimed that he “lost control” of the VideoGames YouTube Channel

for a time, and has now claimed that he is back in control of the VideoGames YouTube Channel,

along with Defendant Brian Martin.

        33.      Mr. Princip and Mr. Martin are now controlling the VideoGames YouTube

Channel. Mr. Princip arranged for A.L., a minor child, to manage and grow the VideoGames

YouTube Channel days after Mr. Moss signed the Partnership Agreement with Mr. Princip--

without Mr. Moss’s or Mr. Keating’s knowledge or consent. Mr. Princip and Mr. Martin--who

later entered an arrangement with Mr. Princip, which Mr. Princip has since claimed is 50%

ownership of the VideoGames YouTube Channel, along with Mr. Princip as 50% owner of the

VideoGames YouTube Channel--have subsequently initiated and settled litigation with Abby and

Adam Lovinger (A.L.’s parents), both in California and Virginia, without the knowledge or

consent of Plaintiffs. New litigation has commenced in California to enforce the terms of the

settlement, which Defendants have apparently breached. Defendants settled the prior litigation

with the Lovingers for $30,000.00 to be paid to the Lovingers from the VideoGames YouTube

Channel’s gross revenues less expenses--before any payments of any kind to Martin, Princip, or

any related persons or entities, and before taxes. Now, the Lovingers have obtained a judgment

in excess of $40,000.00 against Defendants in California because Defendants refuse to pay the

settlement in accordance with its terms.

        34.      Defendants have not allowed Plaintiffs to participate in the management of the

VideoGames YouTube Channel’s affairs, as each Plaintiff is entitled to do by his respective

written agreement with Mr. Princip. Defendants have acted willfully and maliciously, at a



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minimum, in denying Plaintiffs access to the VideoGames YouTube Channel, and their rights to

participate in its management and operation.

          35.    In addition, Defendants have embedded inappropriate coding into videos on the

VideoGames YouTube Channel, designed to drive traffic to their personal YouTube channels.

This has resulted in disciplinary action against the VideoGames YouTube Channel by YouTube

under YouTube’s rules and policies, including a temporary suspension. Further, Defendants

have brought harm to the VideoGames YouTube Channel by refusing to compensate video

creators and producers pursuant to written agreements, resulting in copyright infringement

claims and other detrimental action being brought against the VideoGames YouTube Channel.

          36.    Plaintiffs now come as partners, owners, and investors in the VideoGames

YouTube Channel and seek relief in the form of damages for injuries, performance of their

contractual rights, and injunctive and other relief. Plaintiffs further seek injunctive relief to

enjoin Defendants from taking any further action to deny Plaintiffs their contractual rights to

participate in the management and operation of the VideoGames YouTube Channel and its

brand, deny payment of contractual revenues and profits to Plaintiffs, and from taking any action

to expose the VideoGames YouTube Channel to any further disciplinary action from YouTube

or liability from third parties.

          37.    All conditions precedent have occurred or been performed.

                DAVID TYLER MOSS'S CLAIM FOR COMMON-LAW FRAUD

          38.    Plaintiff David Tyler Moss incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.




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        39.      Defendant Marko Princip made representations to Mr. Moss; specifically, that Mr.

Moss and Mr. Princip would be partners with equal say in the VideoGames YouTube Channel,

and that Mr. Moss would be entitled to receive 30% of all revenue and earnings from everything

associated with the VideoGames YouTube Channel and its brand, to be paid on the 15th day of

each month.

        40.      These representations were material; these representations were the reasons that

Mr. Moss agreed to enter the Partnership Agreement and fund the VideoGames YouTube

Channel. Without these promises in the Partnership Agreement, Mr. Moss would not have

entered into the Partnership Agreement, and would not have invested money in the VideoGames

YouTube Channel.

        41.      The representations were false. To date, Mr. Princip has not performed any of his

duties as set forth in the Partnership Agreement in the manner that he agreed to perform them.

Mr. Princip has consistently made excuses for nonpayment to Mr. Moss on the 15th day of each

month, and has not made payments as he agreed to do. Additionally, Mr. Princip apparently

involved other individuals and/or entities (including but not limited to Brian Martin and A.L.) in

the management and direction of the VideoGames channel, without the knowledge and/or

consent of Mr. Moss, as set forth in the Partnership Agreement.

        42.      When Mr. Princip made the representations, Mr. Princip knew that the

representations were false, or made the representations recklessly, as a positive assertion, and

without knowledge of their truth.

        43.      Mr. Princip made the representations with the intent that Mr. Moss act on them,

and invest money to start the VideoGames YouTube channel.




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          44.    Mr. Moss relied on the representations, and invested money to start the

VideoGames YouTube channel

          45.    Mr. Princip's representations caused Mr. Moss injury. Mr. Moss has received no

payments since 2012 from the VideoGames YouTube Channel as Mr. Princip and the partnership

are obligated to do under the terms of the Partnership Agreement.

          46.    Further, Defendant Brian Martin made representations to Mr. Moss that his

contract with the VideoGames YouTube Channel was “void.”

          47.    The representations were material.

          48.    The representations were false.

          49.    When Mr. Martin made the representations, Mr. Martin knew that the

representations were false, or he made the representations recklessly, without knowledge of their

truth.

          50.    Mr. Moss relied on the representations, and was therefore unable to pursue his

rights to revenue and ownership participation in the VideoGames YouTube Channel.

          51.    The representations caused Mr. Moss injury, as he lost revenue he was entitled to

from the VideoGames YouTube Channel, and his right to participate in ownership and

management decisions.

          DAVID TYLER MOSS'S CLAIM FOR BREACH OF FIDUCIARY DUTY

          52.    Plaintiff David Tyler Moss incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.




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        53.      Plaintiff David Tyler Moss and Defendant Marko Princip had a fiduciary

relationship, as they agreed to be legal partners in business in the VideoGames channel in the

Partnership Agreement.

        54.      Mr. Princip breached his fiduciary duty as a partner to Mr. Moss. Mr. Princip

breached the duty of loyalty by failing and/or refusing to account to and hold for the partnership

property, profit, or benefit derived by the partner in the conduct of the partnership business, and

by dealing with the partnership in a manner adverse to the partnership. Mr. Princip breached the

duty of good faith, fairness, and honesty by bringing other individuals and/or entities into the

partnership without Mr. Moss's consent, and by making managerial decisions and directional

decisions without Mr. Moss's knowledge or consent. Mr. Princip breached the duty of full

disclosure by bringing other individuals and/or entities into the partnership without Mr. Moss’s

knowledge and/or consent, and by making managerial decisions and directional decisions

without Plaintiff David Tyler Moss's knowledge and/or consent.

        55.      Defendant Marko Princip's breach resulted in injury to the Plaintiff David Tyler

Moss and/or benefit to the Defendant Marko Princip. Mr. Moss has received either no payments,

or far insufficient payments, from the VideoGames channel partnership as is he entitled to

receive under the terms of the Partnership Agreement as a result of Mr. Princip’s breach.

Further, the VideoGames YouTube Channel is now liable in excess of $40,000.00 to the

Lovingers.

        56.      Further, Plaintiff David Tyler Moss and Defendant Brian Martin had a fiduciary

relationship as they are legal partners in business in the VideoGames YouTube Channel--if, in

fact, Brian Martin is a partner, as Defendants have claimed.




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          57.    If he is a partner, Mr. Martin breached his fiduciary duty as a partner to Mr. Moss.

Mr. Martin breached the duty of loyalty by failing and/or refusing to account to and hold for the

partnership property, profit, or benefit derived by the partner in the conduct of the partnership

business, and by dealing with the partnership in a manner adverse to the partnership. Mr. Martin

breached the duty of good faith, fairness, and honesty by bringing other individuals and/or

entities into the partnership without Mr. Moss's consent, and by making managerial decisions

and directional decisions without Mr. Moss's knowledge or consent. Mr. Martin breached the

duty of full disclosure by bringing other individuals and/or entities into the partnership without

Mr. Moss's knowledge and/or consent, and by making managerial decisions and directional

decisions without Mr. Moss's knowledge and/or consent.

          58.    Defendant Brian Martin’s breach resulted in injury to Plaintiff David Tyler Moss

and/or benefit to Defendant Brian Martin. Mr. Moss has received either no payments, or far

insufficient payments, from the VideoGames YouTube Channel partnership as is he entitled to

receive under the terms of the Partnership Agreement as a result of Defendant's breach.

                            DAVID TYLER MOSS’S CLAIM FOR
                          BREACH OF PARTNERSHIP AGREEMENT

          59.    Plaintiff David Tyler Moss incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          60.    Plaintiff David Tyler Moss hereby brings this claim for Breach of the

VideoGames YouTube channel Partnership Agreement pursuant to Tex. Bus. Org. Code

§152.211 and the common law

          61.    Plaintiff David Tyler Moss and Defendant Marko Princip have a valid,

enforceable Partnership Agreement.


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          62.    Plaintiff David Tyler Moss is a partner to the VideoGames channel, and is a

proper party to sue for breach of the Partnership Agreement.

          63.    Plaintiff David Tyler Moss performed his obligation to the partnership by

investing $1,500.00 into the VideoGames channel, as agreed.

          64.    Defendant Marko Princip has breached the Partnership Agreement, by failing

and/or refusing to make payments in the amount of 30% of all revenue and earnings from the

VideoGames YouTube Channel and its brand to Plaintiff David Tyler Moss on the 15th day of

each month, beginning in June 2012.

          61.    The Defendant's breach caused Plaintiff David Tyler Moss injury, in that Plaintiff

David Tyler Moss has not received the 30% revenues from the VideoGames YouTube channel

and everything associated with its brand, as he entitled to pursuant to the Partnership Agreement.

Further, Mr. Moss has not been consulted on numerous decisions involving the VideoGames

YouTube Channel’s management and operations, which has resulted in liability to the

VideoGames YouTube Channel that has damaged Mr. Moss.

                     DAVID TYLER MOSS'S CLAIM FOR CONVERSION

          62.    Plaintiff David Tyler Moss incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          63.    Plaintiff David Tyler Moss owned, possessed, or had the right to immediate

possession of property.

          64.    The property was personal property, funds or monies that he was entitled to

receive pursuant to the Partnership Agreement.




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          65.    Defendants Marko Princip and Brian Martin wrongfully exercised dominion or

control over the property, and retained said property for their own use and enjoyment, rather than

making appropriate monthly distributions to Mr. Moss, as Mr. Princip agreed with Mr. Moss.

          66.    Plaintiff David Tyler Moss suffered injury--the loss of revenue which he was

entitled to.

           DAVID TYLER MOSS'S CLAIM FOR MONEY HAD AND RECEIVED

          67.    Plaintiff David Tyler Moss incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          68.    Defendants Marko Princip and Brian Martin hold money.

          69.    Money held by Defendants Marko Princip and Brian Martin belongs to Plaintiff

David Tyler Moss in equity and good conscience.

                        DAVID TYLER MOSS’S CLAIM FOR
                TORTIOUS INTERFERENCE WITH EXISTING CONTRACT

          70.    Plaintiff David Tyler Moss incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          71.    Plaintiff David Tyler Moss has a valid contract with Defendant Marko Princip,

the Partnership Agreement.

          72.    Defendant Brian Martin willfully and intentionally interfered with the contract.

          73.    The interference proximately caused Plaintiff David Tyler Moss injury.

          74.    Plaintiff David Tyler Moss incurred actual damage or loss.




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                     DAVID TYLER MOSS’S CLAIM FOR CONSPIRACY

          75.    Plaintiff David Tyler Moss incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          76.    Defendants Marko Princip and Brian Martin were members of a combination of

two or more persons.

          77.    The object of the combination was to accomplish an unlawful purpose, or a lawful

purpose by unlawful means--committing all acts complained of by Plaintiff David Tyler Moss

herein.

          78.    The members had a meeting of the minds on the object or course of action.

          79.    One of the members committed an unlawful, overt act to further the object or

course of action.

          80.    Plaintiff David Tyler Moss suffered injury as a proximate result of the wrongful

act.

                BRANDON KEATING’S CLAIM FOR COMMON-LAW FRAUD

          81.    Plaintiff Brandon Keating incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          82.    Defendant Marko Princip made representations to Plaintiff Brandon Keating;

specifically, that Mr. Keating and Defendant Marko Princip would be members of the company

which formed the VideoGames channel, that Mr. Keating would own 30% of the company, that

Mr. Keating would have the right to participate in the management and operation of the

company, that Mr. Keating would have voting rights in the company, and that Mr. Keating



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would be entitled to receive 30% of all revenue and earnings from everything associated with the

VideoGames channel and its brand as a YouTube project of the company.

        83.      These representations were material; these representations were the reasons that

Plaintiff Brandon Keating agreed to enter the Membership Agreement and contribute money to

the company. Without these promises in the Membership Agreement, Plaintiff Brandon Keating

would not have entered into the Membership Agreement, and would not have invested money in

the VideoGames YouTube Channel.

        84.      The representations were false. To date, Defendant Marko Princip has not

performed any of his duties as set forth in the Membership Agreement in the manner that he

agreed to perform them. Defendant Marko Princip has consistently made excuses for

nonpayment to Plaintiff Brandon Keating, and has not made payments to Plaintiff Brandon

Keating as he agreed to do. Additionally, Defendant Marko Princip apparently involved other

individuals and/or entities in the management and direction of the VideoGames channel, without

the knowledge and/or consent of Plaintiff Brandon Keating, as set forth in the Membership

Agreement. Defendant has not allowed Mr. Keating to participate in management of the

VideoGames YouTube Channel’s affairs as agreed.

        85.      When Defendant Marko Princip made the representations, Defendant Marko

Princip knew that the representations were false, or made the representations recklessly, as

positive assertions, and without knowledge of their truth.

        86.      Defendant Marko Princip made the representations with the intent that Plaintiff

Brandon Keating act on them, and invest money to start the VideoGames YouTube channel.

        87.      Plaintiff Brandon Keating relied on the representations, and invested money to

start the VideoGames YouTube channel.



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          88.    Defendant Marko Princip's representations caused Plaintiff Brandon Keating

injury. Mr. Keating has received no payments since 2012 from the VideoGames channel as

Defendant Marko Princip and the company are obligated to do pursuant to the terms of the

Membership Agreement.

          BRANDON KEATING’S CLAIM FOR BREACH OF FIDUCIARY DUTY

          89.    Plaintiff Brandon Keating incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          90.    Plaintiff Brandon Keating and Defendant Marko Princip had a fiduciary

relationship, as they agreed to be legal partners in business in the VideoGames Channel in the

Membership Agreement.

          91.    Defendant Marko Princip breached his fiduciary duty as a partner to Plaintiff

Brandon Keating. Defendant Marko Princip breached the duty of loyalty by failing and/or

refusing to account to and hold for the partnership property, profit, or benefit derived by the

partner in the conduct of the partnership business, and by dealing with the partnership in a

manner adverse to the partnership. Defendant Marko Princip breached the duty of good faith,

fairness, and honesty by bringing other individuals and/or entities into the partnership without

Mr. Keating’s consent, and by making managerial decisions and directional decisions without

Mr. Keating’s knowledge or consent. Defendant Marko Princip breached the duty of full

disclosure by bringing other individuals and/or entities into the partnership without Mr.

Keating’s knowledge and/or consent, and by making managerial decisions and directional

decisions without Mr. Keating’s knowledge and/or consent.




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          92.    Defendant Marko Princip's breach resulted in injury to the Plaintiff and/or benefit

to the Defendant. Mr. Keating has received either no payments, or far insufficient payments,

from the VideoGames channel partnership as is he entitled to receive pursuant to the terms of the

Membership Agreement as a result of Defendant Marko Princip's breach.

          93.    Further, Plaintiff Brandon Keating and Defendant Brian Martin had a fiduciary

relationship as they are legal partners in business in the VideoGames YouTube Channel--if, in

fact, Brian Martin is a partner, as Defendants have claimed.

          94.    If he is a partner, Defendant Brian Martin breached his fiduciary duty as a partner

to Plaintiff Brandon Keating. Defendant Brian Martin breached the duty of loyalty by failing

and/or refusing to account to and hold for the partnership property, profit, or benefit derived by

the partner in the conduct of the partnership business, and by dealing with the partnership in a

manner adverse to the partnership. Defendant Brian Martin breached the duty of good faith,

fairness, and honesty by bringing other individuals and/or entities into the partnership without

Mr. Keating’s consent, and by making managerial decisions and directional decisions without

Plaintiff Brandon Keating's knowledge or consent. Defendant Brian Martin breached the duty of

full disclosure by bringing other individuals and/or entities into the partnership without Plaintiff

Brandon Keating’s knowledge and/or consent, and by making managerial decisions and

directional decisions without Plaintiff Brandon Keating's knowledge and/or consent.

          95.    Defendant Brian Martin’s breach resulted in injury to the Plaintiff Brandon

Keating and/or benefit to Defendant Brian Martin. Mr. Keating has received either no payments,

or far insufficient payments, from the VideoGames channel partnership as is he entitled to

receive under the terms of the Partnership Agreement as a result of Defendant Brian Martin's

breach.



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  BRANDON KEATING’S CLAIM FOR BREACH OF PARTNERSHIP AGREEMENT

          96.    Plaintiff Brandon Keating incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          97.    Plaintiff Brandon Keating hereby brings this claim for Breach of the Game Guide,

LLC Membership Agreement pursuant to Tex. Bus. Org. Code §152.211 and the common law.

          98.    Plaintiff Brandon Keating and Defendant Marko Princip have a valid, enforceable

partnership agreement.

          99.    Plaintiff Brandon Keating is a partner and 30% owner of the VideoGames

channel, and is a proper party to sue for breach of the Membership Agreement.

          100.   Plaintiff Brandon Keating performed his obligation to the partnership by investing

$1,500.00 into the partnership and the VideoGames YouTube Channel, as agreed.

          101.   Defendant Marko Princip has breached the Membership Agreement, by failing

and/or refusing to make payments in the amount of 30% of all revenue and earnings from the

VideoGames channel and its brand to Plaintiff Brandon Keating, as agreed in the Membership

Agreement.

          102.   Defendant Marko Princip’s breach caused Plaintiff Brandon Keating injury, in

that Mr. Keating has not received the 30% revenues from the VideoGames YouTube channel and

everything associated with its brand, as he entitled to pursuant to the Membership Agreement.

Further, Mr. Keating has not been consulted on numerous decisions involving the VideoGames

YouTube Channel’s management and operations, which has resulted in liability to the

VideoGames YouTube Channel that has damaged Mr. Keating.




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                     BRANDON KEATING’S CLAIM FOR CONVERSION

          103.   Plaintiff Brandon Keating incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          104.   Plaintiff Brandon Keating owned, possessed, or had the right to immediate

possession of property.

          105.   The property was personal property, funds or monies that he was entitled to

receive pursuant to the Membership Agreement.

          106.   Defendants Marko Princip and Brian Martin wrongfully exercised dominion or

control over the property.

          107.   Plaintiff Brandon Keating suffered injury.

           BRANDON KEATING’S CLAIM FOR MONEY HAD AND RECEIVED

          108.   Plaintiff Brandon Keating incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          109.   Defendant Marko Princip and Brian Martin hold money.

          110.   Money held by Defendants Marko Princip and Brian Martin belongs to Plaintiff

Brandon Keating in equity and good conscience.

                         BRANDON KEATING’S CLAIM FOR
                 TORTIOUS INTERFERENCE WITH EXISTING CONTRACT

          111.   Plaintiff Brandon Keating incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.




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          112.   Plaintiff Brandon Keating has a valid contract with Defendant Marko Princip, the

Game Guide, LLC Membership Agreement.

          113.   Defendant Brian Martin willfully and intentionally interfered with the contract.

          114.   The interference proximately caused Plaintiff Brandon Keating injury.

          115.   Plaintiff Brandon Keating incurred actual damage or loss.

                     BRANDON KEATING’S CLAIM FOR CONSPIRACY

          116.   Plaintiff Brandon Keating incorporates by reference the factual allegations set

forth in paragraphs 18-36 of Plaintiffs’ First Amended Complaint as if set forth in their entirety

herein.

          117.   Defendants Marko Princip and Brian Martin were members of a combination of

two or more persons.

          118.   The object of the combination was to accomplish an unlawful purpose, or a lawful

purpose by unlawful means--committing all acts complained of by Plaintiff Brandon Keating

herein.

          119.   The members had a meeting of the minds on the object or course of action.

          120.   One of the members committed an unlawful, overt act to further the object or

course of action.

          121.   Plaintiff Brandon Keating suffered injury as a proximate result of the wrongful

act.

                                      DECLARATORY RELIEF

          122.   Plaintiffs, David Tyler Moss and Brandon Keating, request declaratory relief

pursuant to 28 U.S.C. §2201-2202 to determine the identities and rights of the partners, owners,

and investors in the VideoGames YouTube Channel. The identities and rights of the partners,



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owners, and investors are in dispute. Declaratory relief will serve a useful purpose in clarifying

and settling legal relations at issue and provide relief from uncertainty, insecurity, and

controversy giving rise to the proceeding. Plaintiffs request that the Court enter declaratory

relief confirming their status as partners/owners/investors, and their rights to participate in the

management and affairs of the VideoGames YouTube Channel pursuant to their respective

agreements with Defendant Marko Princip.

                      DAMAGES FOR PLAINTIFF DAVID TYLER MOSS

        123.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, David Tyler Moss, was caused to suffer economic damages, mental anguish damages,

lost earnings, and lost profits, and to incur the following damages:

                 A.      Actual damages, economic damages, lost earnings and profits as set forth
                         in the Partnership Agreement, due to Defendants’ breach of partnership
                         agreement, breach of fiduciary duty, and Defendants’ misconduct giving
                         rise to all other causes of action set forth herein.

                 B.      Mental anguish damages, as a result of Defendants’ Breach of Fiduciary
                         Duty, and mental anguish was a foreseeable result of the breach of
                         fiduciary duty pursuant to Douglas v. Delp, 987 S.W.2d 879, 884 (Tex.
                         1999).




                                      EXEMPLARY DAMAGES

        123.     Plaintiff David Tyler Moss pleads for an award of exemplary damages for

Defendant’s Breach of Fiduciary Duty pursuant to International Bankers Life Ins. Co. v.

Holloway, 368 S.W.2d 567, 584 (Tex. 1963). Plaintiff David Tyler Moss pleads for an award of

exemplary damages for Defendant’s Common-Law Fraud, Breach of Fiduciary Duty, Breach of

Partnership Agreement, Conversion, and Money Had and Received pursuant to Tex. Civ. Prac. &

Rem. Chapter 41, for conduct committed with fraud, malice, or gross negligence. Plaintiff David


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Tyler Moss pleads for an award of exemplary damages for all of Defendants’ conduct

complained of herein to the extent allowed by Tex. Civ. Prac. & Rem. Chapter 41 and by law.

                                       ATTORNEY’S FEES

        124.     It was necessary for Plaintiff David Tyler Moss to retain the services of WYDE &

ASSOCIATES, licensed attorneys, to prosecute his claims against Defendants. Plaintiff Brandon

Keating pleads for an award of his attorney’s fees pursuant to Tex. Civ. Prac. & Rem. Chapter

38, and an award for attorney’s fees as damages incurred due to Defendants’ wrongful

withdrawal as partners by judicial decree of expulsion pursuant to Tex. Bus. Org. Code

§152.503(b)(3). Plaintiff David Tyler Moss prays for an award of attorney’s fees for all

misconduct complained of herein to the extent allowed by law.

                      DAMAGES FOR PLAINTIFF BRANDON KEATING

        125.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Brandon Keating, was caused to suffer economic damages, mental anguish damages,

lost earnings, and lost profits, and to incur the following damages:

                 A.      Actual damages, economic damages, lost earnings and profits as set forth
                         in the Partnership Agreement, due to Defendants’ breach of partnership
                         agreement, breach of fiduciary duty, and Defendants’ misconduct giving
                         rise to all other causes of action set forth herein.

                 B.      Mental anguish damages, as a result of Defendant’s Breach of Fiduciary
                         Duty, and mental anguish was a foreseeable result of the breach of
                         fiduciary duty pursuant to Douglas v. Delp, 987 S.W.2d 879, 884 (Tex.
                         1999).


                                      EXEMPLARY DAMAGES

        126.     Plaintiff Brandon Keating pleads for an award of exemplary damages for

Defendant’s Breach of Fiduciary Duty pursuant to International Bankers Life Ins. Co. v.

Holloway, 368 S.W.2d 567, 584 (Tex. 1963). Plaintiff David Tyler Moss pleads for an award of


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exemplary damages for Defendant’s Common-Law Fraud, Breach of Fiduciary Duty, Breach of

Partnership Agreement, Conversion, and Money Had and Received pursuant to Tex. Civ. Prac. &

Rem. Chapter 41, for conduct committed with fraud, malice, or gross negligence. Plaintiff

Brandon Keating pleads for an award of exemplary damages for all of Defendants’ conduct

complained of herein to the extent allowed by Tex. Civ. Prac. & Rem. Chapter 41 and by law.

                                        ATTORNEY’S FEES

        127.     It was necessary for Plaintiff Brandon Keating to retain the services of WYDE &

ASSOCIATES, licensed attorneys, to prosecute his claims against Defendants. Plaintiff Brandon

Keating pleads for an award of his attorney’s fees pursuant to Tex. Civ. Prac. & Rem. Chapter

38, and an award for attorney’s fees as damages incurred due to Defendants’ wrongful

withdrawal as partners by judicial decree of expulsion pursuant to Tex. Bus. Org. Code

§152.503(b)(3). Plaintiff Brandon Keating prays for an award of attorney’s fees for all

misconduct complained of herein to the extent allowed by law.

                                      DAMAGES AND REMEDIES

        128.     Plaintiffs pray for restitution of monies owed pursuant to their respective

agreements with Defendant Marko Princip, and for specific performance of their contractual

rights pursuant to their respective agreements with Defendant Marko Princip.

        129.     Plaintiffs plead for an award of lost profits, loss of goodwill, cost of delay in

performance, reliance damages, and benefit-of-the-bargain damages.

        130.     Plaintiffs plead that Defendant Marko Princip and Defendant Brian Martin be

held jointly and severally liable for each act of conspiracy.

                                              INTEREST

        131.     Plaintiffs plead for an award of pre-judgment and post-judgment interest as



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allowed by law.

                                               COSTS

        132.     Plaintiffs plead for an award of all costs recoverable by law.

                                      PERMANENT INJUNCTION

        133.     Plaintiffs pray the Court will enter a permanent injunction to enjoin Defendants

Marko Princip and Brian Martin, and each Defendant’s officers, agents, servants, employees,

attorneys, and other persons who are in active concert or participation with any of the above-

referenced individuals from embedding inappropriate coding or otherwise posting inappropriate

content on the VideoGames YouTube Channel in violation of YouTube rules and policies, hiding

and/or misappropriating partnership profits, revenues, and assets of the VideoGames YouTube

Channel and its brand from Plaintiffs, and preventing Plaintiffs from access to the VideoGames

YouTube Channel and participating in the management and operation of the VideoGames

YouTube Channel.

                       CONSTRUCTIVE TRUST AND DISGORGEMENT

        134.     Plaintiffs request that the Court place a constructive trust on proceeds, funds, and

property obtained as a result of Defendants’ breach of fiduciary duty. Further, Plaintiffs request

that all profits obtained by Defendants as a result of breach of fiduciary be disgorged.

           PLAINTIFFS’ DEMAND FOR ACCESS TO BOOKS AND RECORDS

        135.     Plaintiffs David Tyler Moss and Brandon Keating, partners in the VideoGames

YouTube channel, hereby make demand upon Marko Princip and Brian Martin to immediately

allow access of all partnership books and records in the possession of, or obtainable by, Marko

Princip to David Tyler Moss, Brandon Keating, and the attorneys at Wyde & Associates,

specifically Dan L. Wyde, Hunter A. Nunn, and Read H. Reily.



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                  APPLICATION FOR JUDICIAL EXPULSION OF PARTNER

        136.      Plaintiffs David Tyler Moss and Brandon Keating present this Application for

Judicial Expulsion of Partner pursuant to Tex. Bus. Org. Code §152.501(b)(5), and would show

the Court that:

        A.        Defendant Marko Princip engaged in wrongful conduct that adversely and

materially affected the partnership business;

        B.        Defendant Marko Princip willfully and/or persistently committed a material

breach of the partnership agreement by failing and/or refusing to pay Plaintiffs as agreed in their

respective agreements. Defendant Marko Princip also committed material breaches of the duty

of loyalty by failing to keep an accounting and hold profits for partnership benefit, the duty of

good faith, and the duty of care for his actions in governing and maintaining the VideoGames

partnership; and

        C.        Defendant Marko Princip engaged in conduct relating to the partnership business

that has made it not reasonably practicable to carry on the business in partnership with

Defendant.

        137.      To the extent that Brian Martin is or may actually be found to be a partner,

Plaintiffs ask for his expulsion, and would show the Court that:

        A.        Defendant Brian Martin engaged in wrongful conduct that adversely and

materially affected the partnership business;

        B.        Defendant Brian Martin willfully and/or persistently committed a material breach

of the partnership agreement by failing and/or refusing to pay Plaintiffs as agreed in their

respective agreements. Defendant Marko Princip also committed material breaches of the duty

of loyalty by failing to keep an accounting and hold profits for partnership benefit, the duty of



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good faith, and the duty of care for his actions in governing and maintaining the VideoGames

partnership; and

        C.        Defendant Brian Martin engaged in conduct relating to the partnership business

that has made it not reasonably practicable to carry on the business in partnership with

Defendant.

                  ACTION TO DETERMINE THE TERMS OF REDEMPTION

        138.      Plaintiffs respectfully request the Court to determine the terms of redemption of

Defendant Marko Princip and Brian Martin’s interest in the partnership, pursuant to Tex. Bus.

Org. Code §152.609(1), and prays for a set off of attorney’s fees and any fees owed to a receiver,

should the Court appoint a receiver, as damages for the wrongful withdrawal of Defendant

Marko Princip and Brian Martin against Defendant Marko Princip and Brian Martin’s

redemption pursuant to Tex. Bus. Org. Code §152.604.

        139.      This pleading contains allegations made alternatively, hypothetically, and

inconsistently pursuant to Fed. R. Civ. P. 8(d).

                                              PRAYER

        140.      WHEREFORE, PREMISES CONSIDERED, David Tyler Moss and Brandon

Keating, Plaintiffs herein, respectfully pray that:

                  A.     Marko Princip and all Defendants will be cited to appear and answer

        herein;

                  B.     After notice and hearing, Plaintiffs David Tyler Moss and Brandon

        Keating be granted all relief as requested herein; and

                  C.     For such other and further relief, in law or in equity, to which Plaintiffs

        may be justly entitled.



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                                              Respectfully submitted,

                                              WYDE & ASSOCIATES


                                              By: s/ Dan L. Wyde
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                                              Attorneys for Plaintiffs,
                                              David Tyler Moss and Brandon Keating


                                       Certificate of Service

        On March 31, 2015 I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the Court. I hereby certify that I have served all counsel and/or pro se parties of record

electronically or by another manner authorized by Federal Rule of Civil Procedure 5 (b)(2)



                                              s/ Hunter A. Nunn
                                              Hunter A. Nunn
                                              Attorney for Plaintiffs
                                              Server




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